Case 2:04-cr-20384-SH|\/| Document 81 Filed 08/11/05 Page 1 of 2 Page|D 78

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UN|TED STATES OF AMER|CA win er i.,izinis

P|aintiff

VS.
CR. NO. 04-20384-D

HECTOR POLENDO, JR.

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for motion to suppress hearing on August 3, 2005. At that time,
counsel for the defendant moved to withdraw the motion to suppress and requested a
continuance of the September 6, 2005 triai date in order to allow for additional preparation
in the case.

The Court granted the motion and reset the trial date to November 7, 2005 with a

re ort date of Thursda October 27 2005 at 9:00 a.m., in Courtroom 3. 9th F|oor of

 

the Federa| Building, N|emphis, TN.
The period from September 16, 2005 through November18, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(ii/) because the ends of justice served in allowing for

additional time to prepare outweigh t need for a speedy trial.
|T |S SO ORDERED t day of August. 2005.

B RN|CE B. DONALD
N|TED STATES D|STR|CT JUDGE

   

 

ihis document entered on the docket sheet in compliance

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This notice confirms a copy of the document docketed as number 81 in
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August 12, 2005 to the parties listed.

 

 

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Honorable Berniee Donald
US DISTRICT COURT

